Case 19-12827-JDW        Doc 13    Filed 08/21/19 Entered 08/21/19 15:18:00             Desc Main
                                   Document     Page 1 of 3


                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                CHAPTER 13 CASE NO.:

GERRY PEGUES AND
BELINDA PEGUES                                                                    19-12827-JDW

                             OBJECTION TO CONFIRMATION

       COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the “Trustee”), by and through

counsel, after conducting the Section 341(a) Meeting of Creditors, reviewing the Petition,

Schedules, and Statement of Financial Affairs, and files this Objection to Confirmation (the

“Objection”), and in support thereof states as follows:

       1.      The Debtors commenced this proceeding by filing a Voluntary Petition on July 16,

2019 (the “Petition Date”). The Debtors filed a proposed Chapter 13 Plan (Dkt. #8) (the “Plan”)

on July 17, 2019.

       2.      The Debtors are below median income and the proposed term of the Plan is sixty

(60) months. The Plan does not provide for a distribution to nonpriority unsecured creditors.

       3.      The Debtors’ Schedules fail to disclose all assets and liabilities as required by 11

U.S.C. § 521(a)(1)(B)(i); therefore, the requirement of §1325(a)(1) is not met. Specifically, the

Debtors failed to disclose the Joint Debtor’s PERS account.

       4.      The Debtors failed to disclose the Debtors’ financial affairs as required by 11

U.S.C. § 521(a)(1)(B)(iii); therefore, the requirement of §1325(a)(1) is not met. Specifically, the

Statement of Financial Affairs fails to disclose the money the Debtors have paid for fees and

expenses related to the filing of this bankruptcy case as required by Question number sixteen (16).




                                                 1
Case 19-12827-JDW        Doc 13       Filed 08/21/19 Entered 08/21/19 15:18:00           Desc Main
                                      Document     Page 2 of 3


       5.      Section 5.2 of the Plan fails to comply with 11 U.S.C. § 1325(a)(1). The Debtor is

proposing to treat the indebtedness owed to FedLoan/Department of Education differently than

other nonpriority unsecured claims in Section 5.1 and fails to provide a valid basis for the separate

classification and treatment.

       6.      The Debtors should timely remit all plan payments due under the Plan prior to the

hearing or the case should be dismissed for failure to comply with the proposed Plan.

       7.      For the reasons set forth herein, the Trustee submits that Confirmation of the Plan

should be denied and the case dismissed.

       WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that upon

notice and hearing that this Court enter its order sustaining the Objection. The Trustee prays for

other such general and specific relief to which Trustee and this bankruptcy estate may be entitled.

       Dated: August 21, 2019.

                                        Respectfully submitted,

                                        LOCKE D. BARKLEY
                                        CHAPTER 13 TRUSTEE

                                BY:     /s/ Melanie T. Vardaman
                                        ATTORNEYS FOR TRUSTEE
                                        W. Jeffrey Collier (MSB 10645)
                                        Melanie T. Vardaman (MSB 100392)
                                        6360 I-55 North, Suite 140
                                        Jackson, Miss. 39211
                                        (601) 355-6661
                                        mvardaman@barkley13.com




                                                  2
Case 19-12827-JDW        Doc 13     Filed 08/21/19 Entered 08/21/19 15:18:00             Desc Main
                                    Document     Page 3 of 3


                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: August 21, 2019.

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN




                                                 3
